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                                                               Acknowledgements and Appreciations                             A hearty thanks to the folks who made !his book
                                                                                                                            possible, including ...
                                                               So, it aU started with a phone call from Glen David Gold.
                                                                                                                               Slan Lee , Roy Thomas, John Romita, Dick Ayers,
                                                               He', been a friend of mine for a handful of years now,       Steve Leialoha, Dick Giordano, Joe Rubinstein, Tom
                                                             ever since we met via the Internet on the Gene Colan           Palmer, Gerry Conway, Marv Wolfman , Don McGregor,
                                                             message board. We grew up on a lot of the same comic           Steve Englehart, Steve Gerber, Jim Shooter and
                                                             hooks in the 1970s, and we've had a ball swapping              Clifford Meth, who all contributed insights into Gene's
                                                             memories. insights and even original comic artwork -           life and work.
                                                             especially, Gene's.
                                                                                                                              Glen Cold, Michael "Doc V." Vassallo, Dave
                                                                Eventually, our conversation turned to what it would        Gutierrez, Mark Staff Brandl and Calvin Reid, who all
                                                             take for someone to put together the perfect Colan art         wrote and/or shared art for the book.
                                                             book/biography. More than just a nostalgic look back
                                                             on Colan's career. this book needed to be a history - a          Mike Arnold, Michael Baulderstone, Lee Benaka,
                                                             multi-faceted study of his personal and professional           Philippe Benoist, Bruce Canwell, Jim Cardillo, Ivan
                                                             lives, reflecting on the impact of his 60-year comics          Cheung, Sieve Cohen, Michael Dunne, Len Fausto,
                                                             career. We talked about this a lot. actually. The book         Benny Gelillo, Steven Gettis, Frank Giella, Dave
                                                             needed to properly showcase Gene's life and life's             Gutierrez, Kevin Hall, Richard Howell, Mark Howland,
                                                             work , and it needed to be written by someone who              Greg Huneryager, Bob McLeod, Jim McPherson,
                                                             could have one foot in the comics world, the other in          Dominic Milano , Mike Pascale, James Romberger, Brian
                                                             the real world. and be able lo convey fundamentally:           Sagar, Mark Sinnott, Kevin Stawieray, Marc Svensson,
                                                             Why Gene Colan Matters.                                        Lars Tcglbjaerg, Tom Ziuko and everyone else who lent
                                                                                                                            art - or just plain assistance - for this tome.
                                                                Like us. in other words. This book needed to be written
                                                             by Glen and me, with a little help from our friends. I think      Rich Fowlks and John Morrow, who simply saved
                                                             we knew that from the start, hut the thought never became      this book.
                                                             reality Lill late last summer, when Glen found himself in a
                                                             coinersation with John Morrow, publisher of TwoMorrows            My clearest friends - you know who you are! - who
                                                             books and magazines, and he actually started pitching !he      simply cared. Je t'aime!
                                                             book. Next thing I knew, Glen was calling me saying "Call
                                                             John Morrow." And then John Morrow was on the phone              My wife, Cindy, and children, Justine and Dennis,
                                                             saying "Hey, go write a Gene Colan book!"                      who tolerated all my nights and weekends on the phone,
                                                                                                                            online or closed in my office.
                                                               So. here we are. Secrets in the Shadows: The Life
                                                             and tlrt of Gene Colan is exactly that - a portrait of an         Adrienne and Gene Colan for opening their archives~
                                                             artist who doesn"t just portray lives in nuance, he lives      their lives and their hearts to me.
                                                             one. This book intends to show you where Gene Colan
                                                             came from, what inspires him, his highlights and lows,            My Dad, Percy Field, who redefined "hero" with !he
                                                             his setbacks and successes. The comics fan wi11 find a         selfless way he served my Mom in her final days.




                                         '\\',
                                                             lot of rare, unpublished artwork wilhin these pages_
                                                             The more casual reader will come away with some                  And finally my Mom, Elizabeth C. Field, who died on
                                                             insights on a pretty remarkable life. All of us , I trust -    Good Friday, 2005. She bought me my first comic book

'
~~\..\,
                    '
                    ' ,    '!.r~~~              ,            the readers and writers alike - will emerge from the
                                                             experience knowing exactly why Gene Colan matters.
                                                                                                                             when I was 4, nnd encouraged me to he a writer when I
                                                                                                                            was 10. Little did she know all that would lead lo this,
< ,,~\..                                                     If we succeed there... well, then we've just plain              and I do wish she were here to share the moment.


!,,,
              ·- ·-     .....:..,'.:.,'.':.,,,'\-~ '""       succeeded. Enjoy!
                                                                                                                                                             -   Tom Field, June 2005


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          artists. to rely instead on freelancers.                               natural thing to do for a young couple in their 20s. But even amidst                                              In and Out at EC                                                           So, bow could a young up-and-comer such as Genf! Colan not

     II
                                                                                 the wedding plans, Colan had serious doubts about the couple's                                                                                                                            want to draw for EC?
              "Everybody was milling around !he art depl., not working,"         future. "I'd set'n too many red flags in that relatiom~hip," he says.                In 1952, Harvey Kurtzman was one of t11e most powerful
          Colan says. "They were all stunned because they'd heard                "I knew it would be wrong. But we do stupid things in our lives,                 editors at one of the most influential comirs companies, overseeing                                          "I lried to get in with Harvey Kurtzman," Colan say.~. "Bu t he
          they'd got the pink slip-they were all out of a job. In my case,       and of course when you're young you do even more stupid things."                 the groundbre11king adven ture comics Frontline Combat and                                               was very difficult to deal with. I got one try-out, and I hOO to almost
          I just happened to be ]ucky enough to pick up work before the                                                                                           Tu'O-Fistt:d Talt!.t for EC Comics. TI1ree years later, EC elTectively                                   literally nag him into it."
          weekend.                                                                   Gene and Sallee indeed did marry. they settled down in tut apart~            would be shut down by the anti-comic book fervor ignited by




                                                                                                                                                                   --~-•·
                                                                                                                                                                        1·-
                                                                                                                                                                          -,,
                                                                                 rnent in Bronxville. and before long they were the J.NirefllS of hm young
             '1ltat's how it was for a                                                                                     gins, Valerie and Jill. born in         • 1'0IJ tl .. PptHfCI ro IIIE FI.YIN6 AN A,APl,AJII! Oft OKIMftlt .., !Ml, .... , IF • Y ANY CffAIIICE. YOU HA,f'! ... 11)
                                                                                                                                                                   fl)ft RflltG~THWHr ~All our (Mill TIC """IJJC, NfO IF )'OtlJVfflUIPl"t:MlPTO SIOVt'lr LATITUPI! 1,•N .•
          freelancer."                                                                                                     1954 and 1957 respectively.

            Unlucky at Love                                                                                                     For most of the 1950s,
                                                                                                                           Colan clung desperately to
             Throughout the tur-                                                                                           his rocky maniage. "I lielrl



                                                                                                                                                                   ',~~~ ~~
          bulent 1950s, Colan's                                                                                            on like you would hold on to
          personal life kept pace                                                                                          the edge of a cliff." he says.
          with the ups and downs                                                                                           .., didn "t want to let go-there
          of hi~ profe~sion.                                                                                               were children involved. But
                                                                                                                           it wa, a disaster to me. and I
                                                                                                                                                                                         ,/~ r                         .                                     -~                      r ,h,)
              His emotional woes                                                                                           couldn't cope with it."                          '-'=' ·::~ ✓,· ·
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                                                                                                                                                              i
          actually began in 1946,                                                                                                                                                                                                                                                 .,.A!?.
          when he fint returned                                                                                                Professionally. the course                                  ,/
          from Manila and tried to                                                                                         was no smoother. A fnU-time
          resume his relationsh ip                                                                                         freelancer once he left Timely,
          with Toni. But having been                                                                                       Colan had to constantly
          virtually incommunicado                                                                                          hustle to line up a~sign-
          for the nearly two years he                                                                                      meats. And then once ~                                                                                                                                               First Born: Colan's daughters Valerie and
          was gone, Gene was not                                                                                           secured them, he had to lock                                                                                                                                         Jill, from hi, ffr,t marriage, circa 19-58.
          well-received.                                                                                                   himself into his home studio
                                                                                                                           to complete them. Colan was                                                                                                                                              The try-oul was the six-page war story
              "We had an argument                                                                                          productive - he generally                                                                                                                                            "Wake!" which appeared in Ttoo-Filtt:d Tafel
          because I didn't write while                                                                                     produced lwo finished pages                                                                                                                                          #30. Nov.-Dec. 1952. The story is signed by
          I was in the service." Colan                                                                                     per day. seven days per week:                                                                                                                                        Colan and betrays great evidence of his texlured
          says. To his mind, the                                                                                           - hut he had lo work nearly                                                                                                                                          penciling style. but also looks influenced by th~
          oversight     was     simply                                                                                     around the clock lo succeed.                                                                                                                                         cnrtoonicr touch of Jack Davis, one of
          chalked up to youth . "You                                                                                                                                                                                                                                                            Kurt:zman's regular stable of arlist s. Colan
          get overseas, you're young.                                                                                          ;,I had to work my butt                                                                                                                                          poured himself into this job. hoping il would
          and you forget these                                                                                             off all day, all nisht and                                                                                                                                           lead lo bigger and better work at EC. Then he
          things," he says. "I didn' t                                                                                     inlo tl1e n ext morning,"                                                                                                                                            im·ited Kurtzman home for dinner to discuss the
          think she'd remember me                                                                                          Colan says. " My father                                                                                                                                              audition. "He didn't really jump up and down
ii'
i!        or care much about it."                                                                                          would say to me, ""You.                                                                                                                                              O\:er it," Colan says. "He didn'I think l had hit
                                                                                                                           thi11k you're        ma.king                                                                                                                                         lhe mark."
             He thought       wrong.                                                                                       mont:y? You 're going to
          "Right away. she lei me                                                                                          hand all that back to tht:                                                                                                                                               Colan never got another EC assignment
          have it-oh, boy. she did,"                                                                                       doctor!" My mother would                                                                                                                                             after that - a distinction he shared with fellow
          Colan says. "She put me in                                                                                       say to him • ...Krep quiet,                                                                                                                                          c-omics great Joe Kubert, who was similarly
          my place. I was ell stutter- War Comics: Splash page to Ball/aground #3, (1953).                                 and let him u•orl..·. A little                                                                                                                                       rejected by Kurtzman.
          ing and stammering. I                                                                                            wnrk ne,·er hurt anybody."
          wanted to come back at her with someth ing, but I couldn't. She was                                                                                                                                                                                                                    Around that same time in 1952, Kurtzman
          better with words than I was. l jn~t let it go..,                   Colan prorluccd some wonderful genre work during thi 8 period                                                                                                                                                  was hospitalized because of exhaustion and
                                                                                  - war, crime, western and horror stories fur a ,·ariety of publishers,             Fredric Wert ham's 1953 treati se Seduction of the lm1oc~nt                                           jaundice. As a kind gesture. Colan visited Kurtzman's hospilal
             Soon after the split-up with Toni. Colan met another young woman     including Atlas. nee Timely. And he did finally get attached to an              \ •nd the U.S. Senate Suhcommittee·s 1954, inves ti gation                                       or      room - and was summarily insulted. ''He looked at me and said
 'I       named Sallee. "She lived only a few blocks from where I did." Colan     ongoing <·haracter in 1954, when DC hired him to draw the comic                  .,Ju\'enile delinque ncy. But in its heyday from 1950-1954, EC                                          ••You 're the perfect dupe," Colan remembers. The charge might
          says. "I was going out with her friend. and had seen Sallee once. We    book version of William Boyd•s Hopalong Crulidy movies.                             .. ·     · some of comics' most memorable stories, executed                                          have heen a crUTale - Colan was young and green, and he would
          double-dated, an<l I was very taken by her - slit' was a very good                                                                                                     of the med ium's best art ist s. including Johnny                                         believe most anything that anybody would tell him. Bui
          looking girl."                                                             But at the same time, Colan felt besieged by some of the                                 Jack DHvis, Frank Frazetta, Graham Ingels, Jac k                                             Kurtzman's attitude and tone were totally off-pulling. "He was
                                                                                  editors he worked with - two in particular: Harvey Kurtzman                               n, Bernie Krigstein, John Severin, Al Williamson a nd                                          kind of nasty about it," Colan says. "He was not someone I wanted
              Before long, talk turned to marriage - which seemed like the        and Bob Knnigher.                                                                       lace Wood.                                                                                       to continue with, so I didn't."


           r.ENE COLAN                                                           l4                                                                                                                                                                                   n                               Hrr.H H   o~e:,OUlJllf11'?3 mt Es
 •    I
